             Case 1:19-cv-02179-TNM Document 43 Filed 04/12/21 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

ZACHARY CARL ROTH, SR. et al,

        Plaintiffs,

v.                                                  Case No. 1:19-cv-02179

ISLAMIC REPUBLIC OF IRAN,

        Defendant.

                      PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT
                                 REGARDING LIABILITY

        Pursuant to FRCP 55(b)(2) and 28 U.S.C. § 1608(e), Plaintiffs hereby move for default

findings regarding Defendant’s liability. In support, Plaintiffs state:

        1.       On March 20, 2020, Plaintiffs filed their Third Amended Complaint seeking

damages for their injuries, including solatium damages for family members. [Doc. #27.]

        2.       On October 5, 2020, Plaintiffs effected service of process on Defendant. [Doc.

#37.]

        3.       Despite being properly served, Defendant has elected not to respond or otherwise

participate in this Case.

        4.       On December 9, 2020, the Clerk entered an Entry of Default in this case. [Doc.

#39.]

        5.       Evidence regarding Plaintiffs’ right to relief against Defendant is attached hereto.

See Plaintiffs’ declarations (Exhibits 1-35) filed under seal; Michael Pregent report and

declaration (Exhibit 36). Plaintiffs incorporate their Memorandum In Support of Default

Judgment filed herewith.
            Case 1:19-cv-02179-TNM Document 43 Filed 04/12/21 Page 2 of 2




       6.       Pursuant to Federal Rule of Evidence 201, Plaintiffs request that this Court take

judicial notice of the facts involving Defendant’s activities in Iraq and the Middle East. See, e.g.,

Fritz v. Islamic Republic of Iran, 320 F. Supp. 3d 48 (D.D.C. 2018); Frost v. Islamic Republic of

Iran, 383 F. Supp. 3d 33 (D.D.C. 2019); Karcher v. Islamic Republic of Iran, 396 F. Supp. 3d 12

(D.D.C. 2019); W.A. v. Islamic Republic of Iran, 427 F. Supp. 3d 117 (D.D.C. 2019); Karcher,

CV 16-232 (CKK), 2021 WL 133507 (D.D.C. Jan. 14, 2021); Lee v. Islamic Republic of Iran,

19-CV-00830 (APM), 2021 WL 325958 (D.D.C. Feb. 1, 2021).

       7.       Upon entry of default judgment regarding liability, Plaintiffs will submit evidence

of their damages and request entry of a default judgment on all issues.

       WHEREFORE, Plaintiffs request that this Court find satisfactory evidence of

Defendant’s liability, enter default findings regarding Defendant’s liability, proceed as soon as

practicable to determine Plaintiffs’ damages, enter a judgment for Plaintiffs and against

Defendant, and grant Plaintiffs such other relief as this Court deems just and proper.

DATED: April 12, 2021                         Respectfully submitted,



                                              By: /s/ Bradley M. Lakin
                                               Bradley M. Lakin DC Bar No. AZ0019
                                               bradl@slchapman.com
                                               SL CHAPMAN LLC
                                               10805 Sunset Office Drive, Suite 300
                                               St. Louis, MO 63127
                                               314.588.9300
                                               314.588.9302 fax
